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                                 EXHIBIT 3
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                       NATIVE DOCUMENT PLACEHOLDER

               Please review the native document MOM-0003484.xlsx




CONFIDENTIAL
                                                                                MOM-0003484
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Mutual of Omaha Mortgage, Inc.
Summary of Corporate Earnings Contribution from Tampa and Daytona Branches




Year of Fundings                     Volumes of loans Funded                                    Corporate Profits Earned BPS                                  Branch Contributions to Corporate Profits


       2019                     115,699,761.00    Tampa Volume                                              0.530%                                       Tampa Contribution 2019                          613,208.73
       2020                     219,873,800.00    Tampa Volume                                              1.470%                                       Tampa Contribution 2020                  $ 3,232,144.86
       2021                     260,657,942.00    Tampa Volume                                              0.800%                                       Tampa Contribution 2021                  $ 2,085,263.54
     2022 YTD              s     94,607,156.00    Tampa Volume                              lhru June 30    0.430%                                     Tampa Contribution 2022 YTD                $   406,810.77
                           s    690,838,659.00                                                                                                                Total for Period                    $ 6,337,427.90       0 92%



       2019                     77,737,560.00     Daytona Volume                                            0.530%                                      Daytona Contribution 2019                 $   412,009 .07
       2020                     119,309,249.00    Daytona Volume                                            1.470%                                      Daytona Contribution 2020                 $ 1,753,845.96
       2021                s    162,536,877.00    Daytona Volume                                            0.800%                                      Daytona Contribution 2021                 $ 1,300,295.02
     2022 YTD              s    54,551,735.00     Daytona Volume                            Thru April 30   1.020%                                    Daytona Contribution 2022 YTD               $   556,427.70
                           s   414,135,421.00                                                                                                                 Total for Period                    $ 4,022,577.74       0.97%



      Totals               $ 1,104,974,080.00                                                                                                                                                     $10,360,005.64



Tampa Analysis                                      Tampa Volume Expectation                                                                           Tampa Corporate Profit Expectation


                               690,838,659.00    Volume for 42 Months                                                          $6,337,427.90   Profit for 42 Months
                                16,448 ,539.50   Average Monthly Volume                                                        $ 150,891.14 Average Monthly Profit
                               296,073,711.00    Expected Volume for 18 Monlhs(7/22 - 12/31/2022)                              $2,716,040.53   Expected Corporate Profit for 18 Months (7/22 - 12 /31/2022)


Daytona Analysis                                   Daytona Volume Expectation                                                                         Daytona Corporate Profit Expectation


                           S   414,135,421.00    Volume for 42 Months                                                          $4,022,577.74   Profit for 42 Months
                          $      9,860,367.17    Average Monthly Volume                                                        $   95,775.66   Average Monthly Profit
                          $    177,486,609 .00   Expected Volume for 18 Months(7/22 - 12/31,/2022)                             $1,723,961.89   Expected Corporate Profit for 18 Months (7/22 - 12 /31/2022)
